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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


NO LABELS,

                          Plaintiff,
                                                       Case No. 1:23-cv-01384-GBW
           v.

NOLABELS.COM INC.,

                          Defendant.


            SECOND DECLARATION OF LESLIE E. HARTFORD IN SUPPORT OF
               MOTION FOR TEMPORARY RESTRAINING ORDER AND/OR
                     MOTION FOR PRELIMINARY INJUNCTION

           I, Leslie E. Hartford, declare that the following is true and correct to the best of my

knowledge, information, and belief:

           1.      I am over the age of 18 and I make this affidavit based on personal knowledge.

           2.      I am an attorney with the law firm Nixon Peabody LLP, 53 State Street, Exchange

Place, Boston, Massachusetts 02109, representing Plaintiff No Labels (“No Labels” or “Plaintiff”).

           3.      I make this declaration in further support of Plaintiff’s Motion for Temporary

Restraining Order and/or Motion for Preliminary Injunction based on my information, knowledge

and belief and the records in this matter.

           4.      Prior to No Labels commencing this action against NoLabels.com Inc., I visited the

No Labels website (nolabels.org) and the NoLabels.com Inc. website (nolabels.com) multiple

times. Prior to commencing this action, there was no language on nolabels.com disclaiming any

affiliation between the two websites. See Attachment A, Nov. 30, 2023 Screenshot.

           5.      After No Labels served its Complaint and Motion for Temporary Restraining Order

and/or Motion for Preliminary Injunction, I again visited nolabels.com and noticed the addition of



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a small disclaimer at the base of the website that states “NoLabels.com is not affiliated with

NoLabels.org.” See Attachment B, Dec. 14, 2023 Screenshot.

           6.      Separately, I attach here true and accurate copies of a sampling of articles

concerning No Labels from the Wall Street Journal (see Attachments C and D), the Washington

Post (see Attachment E), Politico (see Attachment F), and The Hill (see Attachment G).



           I declare under penalty of perjury that the foregoing is true and correct. Executed on the

14th day of December, 2023.

                                                               __________________________
                                                               Leslie E. Hartford, Esq.
                                                               Nixon Peabody LLP
                                                               Exchange Place, 53 State Street
                                                               Boston, MA 02109-2835
                                                               Email: lhartford@nixonpeabody.com




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            ATTACHMENT A
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                                                We are the
                        Commonsense majority




                     THE POWER OF UNITY and REASON
     NoLabels.com ignites a movement against political decay, championing dialogue and sense. We embody our
                                               Founders' dreams.

                      We salute the bold candidates running under the No Labels Party banner.

       We're the dynamic force disrupting political gridlock, united for America's future. We're the industrious
                                                 voice, ready to roar.

                                         Discover our No Labels champions.


                                                       Join us >
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                                                                                 NoLabels.com
                                                                                   Initiatives
                                                                   NoLabels.com is a hub for No Labels Party supporters to
                                                                   foster discussions and solutions. We're dedicated to a
                                                                   united future, offering voters options that resonate with
                                                                   core American values.




      NoLabels.com Leaders
     Discover the fighters challenging the entrenched DC elite
     and how they're redefining politics from the White House to
     local government.


                                                                   Former U.S. Rep. Tulsi Gabbard, Hawaii, who ran for President in 2020




                                                                   We are Problem Solvers, embodying resilience and courage,
                                                                   advocating for the right causes.


                                                                   From Tulsi Gabbard in Hawaii to Tyson Draper in Arizona,
                                                                   we spotlight our nation's leaders and their advocates.



     No Labels U.S. Senate Candidate, Tyson Draper, Arizona




     We aim to expand our NoLabels.com community,
     supporting our candidates and Americans disillusioned with
     current politics.




                                                                   U.S Speaker of the House Rep. Mike Johnson, Louisiana, and Third in Line
                                                                   to the Presidency
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  What We
                           Stand For
             We stand for the American Way of Life.                                        We stand against censorship.
    The American Dream isn’t something handed down to us on                We believe that the globalist media now exists to promote the
       a silver platter. It’s a commitment, a responsibility, to           interests of a powerful elite, rather than real Americans. Our
     safeguard our rights and freedoms from the tyranny of the             values are being intentionally drowned out in a tidal wave of
                         corrupt, powerful elite.                                                  corrupt elitism.




                                                                                                 We stand for you.
                   We stand for family values.
                                                                           You can’t be defined. Americans are powerful because of their
    The family is the foundational element in America’s success            individual uniqueness. We are divided once we begin to label
     as a global power, and the diminishment of the American
                                                                           ourselves. When we see each other through the perspective of
      family has heralded the decline of American culture. We              race, gender, wealth, or other divisive categories, we lose our
       must prioritize real family values to restore American                 strength. We are strong because we have NoLabels.com.
                           exceptionalism.
                                                                                         We are strong because of YOU!




                                  Join our community
      Thousands of patriotic citizens who want to reclaim our American way of life just like you do have already
     joined our movement. Join us and find out what you can do to make the success of this movement a reality
                                               in your own backyard.


                                                              Add Your Name >




           Want to Be A
       NoLabels.com Leader?
     The NoLabels.com community stands ready to support you
     with information and a growing network of Americans looking
     for a return to American supremacy, working-class excellence,
     honorable values founded on the building blocks of Western
     Civilization, and a functioning Democracy like the one once
     enjoyed by our parents and grandparents.


      NoLabels.com supporters are growing in numbers everyday!
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                            Contact         Privacy Policy    Paid for by NoLabels.com
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